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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS



IDEAL INNOVATIONS, INC.,
THE RIGHT PROBLEM, LLC, and
ROBERT KOCHER,

                       Plaintiff,                  Case No. 1:17-cv-00889

       v.                                          Senior Judge Edward J. Damich

THE UNITED STATES OF AMERICA,

                       Defendant.



                NOTICE OF APPEARANCE OF HOLMES J. HAWKINS III

TO: THE CLERK OF THE COURT AND ALL COUNSEL OF RECORD

       PLEASE TAKE NOTICE that Holmes J. Hawkins III is appearing as counsel of record

for Force Protection Inc., General Dynamics Land Systems, Inc., and General Dynamics Land

Systems – Force Protection, Inc. All pleadings, discovery, and other material should be served

upon counsel at the following address:

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Dated: June 15, 2018                                     By: /s/ Holmes J. Hawkins III




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                                                Inc., and General Dynamics Land
                                                Systems – Force Protection, Inc.




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